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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 HONG KONG LEYUZHEN TECHNOLOGY
 CO. LIMITED,                                        Case No. 1:24-cv-06226

                Plaintiff,

 v.

 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A” HERETO,

                Defendants.

         PLAINTIFF’S MOTION TO EXCEED PAGE LIMITATION IN THEIR
      MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR ENTRY OF A
                     TEMPORARY RESTRAINING ORDER

        Plaintiff, Hong Kong Leyuzhen Technology Co. Limited, (“Plaintiff”), by and through its

counsel, the Bayramoglu Law Offices, LLC, and pursuant to Local Rule 7.1 of the United States

District Court for the Northern District of Illinois, respectfully requests that it be given leave to

file their brief in support of Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining

Order (the “Ex Parte Motion”) against the Defendants listed in Schedule A attached as Exhibit 2

to the Complaint (the “Defendants”) which is in excess of 15 pages in length.

        As part of the Ex Parte Motion Plaintiff seeks: (1) entry of a temporary restraining order

against Defendants enjoining them from the manufacture, importation, distribution, offering for

sale, and sale of knockoff products that display or otherwise use, without authorization the

copyrights asserted in this action, which are federally registered marks described in Exhibit 1 to

the Complaint; (2) a temporary restraining order prohibiting the transfer of Defendants’ assets to

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preserve Plaintiff’s right to an equitable accounting; (3) expedited discovery allowing Plaintiff to

inspect and copy Defendants' records related to the manufacture, distribution, offering for sale,

and sale of knockoff products that have used, without authorization, the copyrights asserted in this

action, and Defendants’ financial accounts – which additionally includes discovery on any third

parties acting in concert with or associated with Defendants; and (4) service by electronic mail

and/or electronic publication.

        Plaintiff's Ex Parte Motion for TRO includes at least four (4) distinct issues regarding its

intellectual property rights, its likelihood of success on multiple claims for relief, and additional

arguments concerning expedited discovery and alternative services means, each of which must be

decided simultaneously. As a result, Plaintiff's brief contains necessary substantive content

relevant to each issue that should be considered. Plaintiff's brief is approximately 30 pages, which

is substantially less than the 60-page limit allowed if multiple required motions were filed

separately. Plaintiff, therefore, respectfully requests that it be granted leave to file a combined brief

in excess of 15 pages, for purposes of efficiency.

 DATED: July 23, 2024                                  Respectfully Submitted,

                                                       By: /s/ Shawn A. Mangano
                                                       Shawn A. Mangano (Bar No. 6299408)
                                                       Nihat Deniz Bayramoglu (NV Bar No. 14030)
                                                       Gokalp Bayramoglu (NV Bar No. 15500)
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                                                       Attorneys for Plaintiff

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